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        UNITED STATES DISTRICT COURT
        SOUTHERN DISTRICT OF NEW YORK


         TECSPEC LLC, RICHARD ROSE, ROBERT
         SENIA, and RALPH SCHLENKER,                                       Case No. 24 Civ. 8077
                                 Plaintiffs,
                                                                             ORDER TO SHOW CAUSE FOR A
                 -against-
                                                                              PRELIMINARY INJUNCTION
                                                                                VIITH A TE.M.PORARY
         MICHAEL DONNOLO, JOSHUA DONNOLO,
         JOHN MICHAEL LONG, BRAYA CONCEPTS                                      RESTRAINING ORDER
         LLC, BRAYA MACHINE COMPANY LLC,
         BRAYA SYSTEMS LLC, BRAYA VENTURES
         LLC, and ABC CORPORATIONS 1-10

                                 Defendants.

                Upon consideration of the Summons and Verified Complaint, dated October 24,

        2024,    Plaintiffs' suppo1iing memoranda of law, dated October 24 and 30, 2024, the

        declarations of David Lopez and Robe1i Senia, Defendants' memorandum of law in opposition,

        dated October 29, 2024, with exhibits thereto, the declarations of Michael Donnolo, John

        Michael Long, and Kevin Kell', hereto annexed, and the telephone conference held on

        November 4, 2024, and pursuant to Federal Rule of Civil Procedure 65, it is hereby:

                ORDERED that the above named defendants, Michael Donnolo, Joshua Donnolo,

        John Michael Long, Braya Concepts LLC, Braya Machine Company LLC, Braya Ventures

        LLC, Braya Systems LLC, and ABC Corporations 1-10, show cause before this Comi ,

        at Room 12B, Daniel P. Moynihan Courthouse, Southern District of New York, 500 Pearl
                                                                                             1
        Street, New York, NY 10007, on December 10, 2024, at 11:30 a.m., or as soon as

        counsel may be heard, why an order should not be issued pursuant to Rule 65 of the Federal

        Rules of Civil Procedure:
                    a. Enjoining and restraining Defendants, and any person or entity acting in conceit
                       with them or under their supervision, from possessing, using, disclosing, or
                       disseminating Tecspec LLC's confidential info1m ation and trade secrets, whether
                       directly or indirectly, except as required by the Federal Rules of Civil Procedure
                       governing discove1y and Local Rules of this Comi to comply with discove1y
                       obligations;
1 The proceeding will be held via Microsoft Teams. The parties will receive log-in credentials via email. The public listen-
only line may be accessed by dialing 646-453-4442 and entering Conference ID 514 382 301 followed by the pound (#) key.
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     b. Enjoining M. Donnolo, and any person or entity acting in concert with him or under
        his supervision, from directly or indirectly owning, managing, operating, joining,
        controlling, being employed by or with, or participating in any manner with a
        competing business as restricted in the Non-Compete provision contained in the
        October 6, 2017 Operating Agreement of Tecspec LLC, as amended on January 1,
        2018, executed by M. Donnolo;

     c. Enjoining Defendants, and any person or entity acting in concert with them or under
        their supervision, from bidding on any contracts concerning the manufacturing of
        HVAC units in violation of M. Donnolo’s fiduciary duties owed to Tecspec LLC
        and M. Donnolo’s Non-Compete Agreement, making any purchases on Tecspec
        LLC’s lines of credit, contacting any of Tecspec LLC’s vendors or customers, and
        discussing any part of Braya Concepts LLC’s, Braya Machine Company LLC’s,
        Braya Systems LLC’s, and Braya Ventures LLC’s business or Tecspec LLC’s
        business with Tecspec’s business contacts;

     d. Enjoining Defendants, and any person or entity acting in concert with them or under
        their supervision from using any software and/or computer programs whose license
        was paid for by Tecspec LLC, including but not limited to SolidWorks;

     e. Mandating Defendants, and any person or entity acting in concert with them or
        under their supervision to provide Robert Senia, Richard Rose, and Ralph
        Schlenker access to Tecspec LLC’s Amazon web services, email accounts, HVAC
        and circulation air fans located in Tecspec LLC’s office and workshop space, and
        video cameras located in Tecspec LLC’s office and workshop space, by, amongst
        other things, providing the necessary passwords and IP addresses for each of the
        aforementioned items;

     f. Mandating Defendants, and any person or entity acting in concert with them or
        under their supervision to return to Tecspec LLC any Tecspec LLC issued
        computers;

     g. Mandating Defendants, and any person or entity acting in concert with them or
        under their supervision, to provide Robert Senia, Richard Rose, and Ralph
        Schlenker administrative level control to Tecspec’s accounts on Quickbooks,
        Dropbox, Gmail, Tecspec LLC’s servers, and Tecspec LLC’s websites;

     h. Mandating Defendants, and any person or entity acting in concert with them or
        under their supervision, to turnover to Robert Senia, Richard Rose, and Ralph
        Schlenker: (i) unit software and program SOV control valves; (ii) software keys for
        all software used by Tecspec LLC; (iii) Tecspec LLC’s software and BACnet list
        for controller on induction units and fan coils, including preformatted points list
        screen; (iv) the programs for every part built on Tecspec LLC’s CNC machines
        (including but not limited to fancoils, induction units, fin tubes, and discharge air
        grilles); (v) the programs for the robot arm machine used by Tecspec LLC; (vi)
        Tecspec LLC’s induction unit central distribution panel BacNet Controller
        software; (vii) Tecspec LLC’s fan coil central distribution panel BacNet Controller


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        software; (viii) the laser machine programs owned by Tecspec LLC; (vix) all
        Tecspec LLC assembly line software and the corresponding security and source
        codes; (x) source codes for all Tecspec LLC programs; (xi) graphics used for
        Tecspec’s SOV Valve, software to the program used in connection with the SOV
        Valve BACnet, fan coil, and induction unit; (xii) instructions for working all
        Tecspec LLC’s assembly lines and other software; (xiii) the programs for Tecspec
        LLC’s laser machines that cut insulation; (xiv) Tecspec LLC’s 3-D printer
        software; and (xv) all invoices that have been paid by Tecspec LLC for the past five
        years;

     i. Mandating Defendants, and any person or entity acting in concert with them or
        under their supervision, to turnover to Richard Rose, Robert Senia, and Ralph
        Schlenker: (i) Tecspec LLC’s engineering drawings, including but not limited to
        the latest unit construction details and drawings, including any drawings and
        designs the HVAC unit that Defendants are manufacturing; (ii) Tecspec LLC’s
        SOV distribution panel wiring diagram and manufacturing drawing; (iii) Tecspec
        LLC’s wiring diagrams for fan coils and induction; (iv) Tecspec LLC’s die and jigs;
        (v) information on how to use all of Tecspec LLC’s manufacturing machines and
        robots; (vi) Tecspec LLC’s latest selection program data; (vii) Tecspec LLC’s
        nozzle air flow data; (viii) all Intertek testing data for all Tecspec LLC’s units; (vix)
        all take off data for Tecspec’s Two Penn Plaza contract; and (x) all of Tecspec
        LLC’s extrusions drawings;

     j. Mandating Defendants, and any person or entity acting in concert with them or
        under their supervision, to turnover to Richard Rose, Robert Senia, and Ralph
        Schlenker: (i) Tecspec LLC’s vendor lists; (ii) information as to what services the
        vendors contained in Tecspec LLC’s vendor list provide; (iii) the contact
        information for the vendors contained in Tecspec LLC’s vendor list, including but
        not limited to Tecspec LLC’s anodizing company and extrusion vendors;

     k. Mandating Defendants, and any person or entity acting in concert with them or
        under their supervision to: (i) forward all Tecspec phone calls and emails to Richard
        Rose, Robert Senia, and Ralph Schlenker; (ii) return all keys and locks for Tecspec
        LLC’s machinery and office/workshop spaces; (iii) disclose Tecspec LLC’s
        subcontractors and pricing information; (iv) provide a copy of the lease for the
        Tecspec LLC office/workshop building located in Newark, New Jersey; and (v)
        disclose any quotes on jobs Braya Concepts LLC, Braya Machine Company LLC,
        Braya Ventures LLC, and Braya Systems LLC have submitted;

     l. Mandating Defendants, and any person or entity acting in concert with them or
        under their supervision, to return all property Defendants removed from Tecspec
        LLC’s facility in Newark, New Jersey, to Robert Senia, Richard Rose, and Ralph
        Schlenker, including but not limited to: (i) 3-D printer wire(s); (ii) tool bits; (iii)
        server rack(s); (iv) test fans and hosing; (v) printer(s); (vi) label printer(s); (vii)
        sound meter(s); (viii) insulation; (vix) dampers; (x) silencers; (xi) piping; (xii)
        plywood; (xiii) machined damper pipe; (xiv) screws; (xv) gaskets; (xvi) gasket
        sensors; (xvii) sensors; (xviii) insulation nozzles; (xvix) valves; (xx) copper pipe


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                fittings; (xxi) wire harnesses; (xxii) tubing; (xxiii) condensation sensors; (xxiv) and
                all raw metals and raw metals made into parts;

             m. Mandating Defendants, and any person or entity acting in concert with them or
                under their supervision, to provide Robert Senia, Richard Rose, and Ralph
                Schlenker: (i) bills for the parts Defendants have purchased for the HVAC units
                Defendants are building; (ii) an inventory of all items/materials taken from Tecspec
                LLC’s facility in Newark, New Jersey; and (iii) all items Defendants improperly
                removed from Tecspec LLC’s facility in Newark, New Jersey; and it is further

      ORDERED, that the deposition of Michael Donnolo1 will be scheduled on five days’ notice

to determine what other Tecspec LLC property he, or any person or entity acting in concert with

him, or under his supervision, is in possession of.

      ORDERED, that, for sufficient reason and good cause having been show, pending the hearing

of Plaintiffs’ application for a preliminary injunction pursuant to Federal Rule of Civil Procedure

65:

             a. The Defendants, and any person or entity acting in concert with them or under their
                supervision, are temporarily restrained and enjoined from possessing, using,
                disclosing, or disseminating Tecspec LLC’s confidential information and trade
                secrets, whether directly or indirectly, except as required by the Federal Rules of
                Civil Procedure governing discovery and Local Rules of this Court to comply with
                discovery obligations;

             b. The Defendants, and any person or entity acting in concert with them or under their
                supervision, are temporarily restrained and enjoined from directly or indirectly
                owning, managing, operating, joining, controlling, being employed by or with, or
                participating in any manner with a competing business as restricted in the Non
                Compete provision contained in the October 6, 2017 Operating Agreement of
                Tecspec LLC, as amended on January 1, 2018, executed by M. Donnolo;

             c. The Defendants, and any person or entity acting in concert with them or under their
                supervision, are temporarily restrained and enjoined from bidding on any contracts
                concerning the manufacturing of HVAC units in violation of M. Donnolo’s
                fiduciary duties owed to Tecspec LLC and M. Donnolo’s Non-Compete
                Agreement, making any purchases on Tecspec LLC’s lines of credit, contacting any
                of Tecspec LLC’s vendors or customers, and discussing any part of Braya Concepts


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         Plaintiffs reserve the right to further depose Michael Donnolo in the event that this
matter proceeds with discovery.



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        LLC’s, Braya Machine Company LLC’s, Braya Systems LLC, and Braya Ventures
        LLC’s business or Tecspec LLC’s business with Tecspec’s business contacts;

     d. The Defendants, and any person or entity acting in concert with them or under their
        supervision, are temporarily restrained and enjoined from using any software
        and/or computer programs whose license was paid for by Tecspec LLC, including
        but not limited to SolidWorks;

     e. The Defendants, and any person or entity acting in concert with them or under their
        supervision, are required to provide Robert Senia, Richard Rose, and Ralph
        Schlenker access to Tecspec LLC’s Amazon web services, email accounts, HVAC
        and circulation air fans located in Tecspec LLC’s office and workshop space, and
        video cameras located in Tecspec LLC’s office and workshop space, by, amongst
        other things, providing the necessary passwords and IP addresses for each of the
        aforementioned items;

     f. The Defendants, and any person or entity acting in concert with them or under their
        supervision, are required to return to Tecspec LLC any Tecspec LLC issued
        computers;

     g. The Defendants, and any person or entity acting in concert with them or under their
        supervision, are required to provide Robert Senia, Richard Rose, and Ralph
        Schlenker administrative level control to Tecspec’s accounts on Quickbooks,
        Dropbox, Gmail, Tecspec LLC’s servers, and Tecspec LLC’s websites;

     h. Defendants, and any person or entity acting in concert with them or under their
        supervision, are required to turnover to Robert Senia, Richard Rose, and Ralph
        Schlenker: (i) unit software and program SOV control valves; (ii) software keys for
        all software used by Tecspec LLC; (iii) Tecspec LLC’s software and BACnet list
        for controller on induction units and fan coils, including preformatted points list
        screen; (iv) the programs for every part built on Tecspec LLC’s CNC machines
        (including but not limited to fancoils, induction units, fin tubes, and discharge air
        grilles); (v) the programs for the robot arm machine used by Tecspec LLC; (vi)
        Tecspec LLC’s induction unit central distribution panel BacNet Controller
        software; (vii) Tecspec LLC’s fan coil central distribution panel BacNet Controller
        software; (viii) the laser machine programs owned by Tecspec LLC; (vix) all
        Tecspec LLC assembly line software and the corresponding security and source
        codes; (x) source codes for all Tecspec LLC programs; (xi) graphics used for
        Tecspec’s SOV Valve, software to the program used in connection with the SOV
        Valve BACnet, fan coil, and induction unit; (xii) instructions for working all
        Tecspec LLC’s assembly lines and other software; (xiii) the programs for Tecspec
        LLC’s laser machines that cut insulation; (xiv) Tecspec LLC’s 3-D printer
        software; and (xv) all invoices that have been paid by Tecspec LLC for the past five
        years;

     i. Defendants, and any person or entity acting in concert with them or under their
        supervision, are required to turnover to Richard Rose, Robert Senia, and Ralph


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        Schlenker: (i) Tecspec LLC’s engineering drawings, including but not limited to
        the latest unit construction details and drawings, including any drawings and
        designs the HVAC unit that Defendants are manufacturing; (ii) Tecspec LLC’s
        SOV distribution panel wiring diagram and manufacturing drawing; (iii) Tecspec
        LLC’s wiring diagrams for fan coils and induction; (iv) Tecspec LLC’s die and jigs;
        (v) information on how to use all of Tecspec LLC’s manufacturing machines and
        robots; (vi) Tecspec LLC’s latest selection program data; (vii) Tecspec LLC’s
        nozzle air flow data; (viii) all Intertek testing data for all Tecspec LLC’s units; (vix)
        all take off data for Tecspec’s Two Penn Plaza contract; and (x) all of Tecspec
        LLC’s extrusions drawings;

     j. Defendants, and any person or entity acting in concert with them or under their
        supervision, are required to turnover to Richard Rose, Robert Senia, and Ralph
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        vendors contained in Tecspec LLC’s vendor list provide; (iii) the contact
        information for the vendors contained in Tecspec LLC’s vendor list, including but
        not limited to Tecspec LLC’s anodizing company and extrusion vendors;

     k. Defendants, and any person or entity acting in concert with them or under their
        supervision, are required to: (i) forward all Tecspec phone calls and emails to
        Richard Rose, Robert Senia, and Ralph Schlenker; (ii) return all keys and locks for
        Tecspec LLC’s machinery and office/workshop spaces; (iii) disclose Tecspec
        LLC’s subcontractors and pricing information; (iv) provide a copy of the lease for
        the Tecspec LLC office/workshop building located in Newark, New Jersey; and (v)
        disclose any quotes on jobs Braya Concepts LLC, Braya Machine Company LLC,
        Braya Ventures LLC, and Braya Systems LLC have submitted;

     l. Defendants, and any person or entity acting in concert with them or under their
        supervision, are required to return all property Defendants removed from Tecspec
        LLC’s facility in Newark, New Jersey, to Robert Senia, Richard Rose, and Ralph
        Schlenker, including but not limited to: (i) 3-D printer wire(s); (ii) tool bits; (iii)
        server rack(s); (iv) test fans and hosing; (v) printer(s); (vi) label printer(s); (vii)
        sound meter(s); (viii) insulation; (vix) dampers; (x) silencers; (xi) piping; (xii)
        plywood; (xiii) machined damper pipe; (xiv) screws; (xv) gaskets; (xvi) gasket
        sensors; (xvii) sensors; (xviii) insulation nozzles; (xvix) valves; (xx) copper pipe
        fittings; (xxi) wire harnesses; (xxii) tubing; (xxiii) condensation sensors; (xxiv) and
        all raw metals and raw metals made into parts;

     m. Defendants, and any person or entity acting in concert with them or under their
        supervision, are required to provide Robert Senia, Richard Rose, and Ralph
        Schlenker: (i) bills for the parts Defendants have purchased for the HVAC units
        Defendants are building; (ii) an inventory of all items/materials taken from Tecspec
        LLC’s facility in Newark, New Jersey; and (iii) all items Defendants improperly
        removed from Tecspec LLC’s facility in Newark, New Jersey; and it is further




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    ORDERED, that a copy of thi.s oi-dei-, togethet· w i.th the popei-s upon 1Nhi.eh i.t i.s grnnted, be

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sttffieient.

    ORDERED, that by November 8, 2024, the pruiies shall meet and confer and propose a

schedule for briefing Plaintiffs' Motion for Preliminruy Injunction;

    ORDERED, that by November 8, 2024, the parties shall contact the Chambers of Magistrate

Judge Robe1i Lehrburger to schedule a settlement conference. The conference should take place

at the eru·liest opportunity, and in no event later than November 25, 2024 (subject to

Judge Lehrburger's availability). An order refening this case to Judge Lehrburger will issue.

By November 27, 2024, the pruties shall file a joint letter stating their effo1is to ruTive at a

disposition of this matter.

    Dated: Oetobef November 4, 2024

    New York, New York




                                                            TED STATES DISTRICT JUDGE




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